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                                             THE CITY OF NEW YORK
                                            LAW DEPARTMENT
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                                                                      January 31, 2017
       BY ECF and E-Mail
       Honorable Katherine Polk Failla
       United States District Judge
       United States District Court
       Southern District of New York
       40 Foley Square, Room 2103
       New York, New York 10007
       Failla_NYSDChambers@nysd.uscourts.gov


                 Re: Price v. Simmons, et al.,
                     15-CV-5871 (KPF)

       Your Honor:

               I am a Senior Corporation Counsel in the New York City Law Department and
       representing the City of New York, Inspector Obe and Selvena Brooks in the above-captioned
       matter. 1 I write to respond to the Order issued on January 11, 2017 wherein the Court directed
       the City to advise of the identities of the still-unnamed John Doe and to advise the Court of its
       intentions regarding the future of this case.

              By way of background, plaintiff alleges, inter alia, that on or about October 14, 2014 the
       Operator of @NYPD28PCT Twitter Account blocked her from posting comments on the Twitter
       page for the 28th Precinct. (See Civil Docket Entry No. 21.) Plaintiff further alleges that on or
       about December 1, 2014, the Operator of @NYCagainstabuse Twitter Account blocked her from
       posting comments on the Twitter page for the Mayor’s Office to Combat Domestic Violence.



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        Please take further notice that this case is assigned to Assistant Corporation Counsel Debra
       March, who is presently awaiting admission to the New York State Bar and is handling this
       matter under my supervision. Ms. March may be reached directly at 212-356-2410 or
       dmarch@law.nyc.gov
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(Id.) Additionally, plaintiff alleges that on or about July 2 or 3, 2015 she was detained by two
officers and transported to Bellevue Hospital. (Id.)

        To this date, this Office has not been able to identify the officers who plaintiff alleges
detained her and transported her to Bellevue Hospital on or about July 2 or 3, 2015 as plaintiff
has not provided this office with releases that would allow us access to these records. Our Office
mailed a request for plaintiff to provide this office with a release, pursuant to C.P.L. 160.50/55 as
well as a HIPAA release, on or about October 21, 2016 and again on December 1, 2016. On
December 2, 2016, the City wrote to Your Honor requesting that the Court compel plaintiff to
provide these releases. (See Civil Docket Entry No. 37.) The Court declined to compel plaintiff,
but instead advised her “that if she does not provide the additional identifying information
needed, it may not be possible for her to pursue her claims against the remaining John and Jane
Doe Defendants.” (See Civil Docket Entry. No. 38). When no releases were provided, another
request was sent on January 13, 2017 via Certified Mail, including a request that plaintiff provide
descriptions of these defendants. On January 31, 2017, Ms. March spoke with plaintiff directly
on the phone. Plaintiff indicated that she will be getting the releases back to us, but plaintiff did
not give a date that she will return them by. Without these releases or descriptions, we are
unable to identify these officers.

       Finally, defendants have requested a pre-motion conference to discuss their proposed
motion to dismiss plaintiff’s claims against the City, Inspector Obe, and Selvena Brooks
pursuant to Fed. R Civ. P. 12(b)(6). As discussed in that letter, defendant’s contend that the
claims against these defendants should be dismissed. (See Civil Docket Entry No. 46).

       Thank you for your time and consideration herein.



                                                              Respectfully submitted,

                                                                /S

                                                              Elissa B. Jacobs
                                                              Senior Corporation Counsel

cc:    VIA FIRST CLASS MAIL
       Kelly Price
       Plaintiff Pro Se
       534 W. 187th Street
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       New York, N.Y. 10033




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